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                        EXHIBIT G
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 UNITED STATES DISTRICT COURT                                           DOCUMENT
 SOUTHERN DISTRICT OF NEW YORK                                          ELECTRONICALLY FILED
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  BROIDY CAPITAL MANAGEMENT LLC                                     :   DATE FILED: June 11, 2018
  and ELLIOTT BROIDY,                                               :
                                                                    :
                                      Movants,                      :
                                                                    :
                             -v-                                    :         18-mc-240 (KBF)
                                                                    :
  JOSEPH ALLAHAM,                                                   :              ORDER
                                                                    :
                                      Respondent.                   :
  ----------------------------------------------------------------- X
 KATHERINE B. FORREST, District Judge:

         The Court is in receipt of the State of Qatar’s (“Qatar”) request for an

 opportunity to review respondent Joseph Allaham’s (“Allaham”) production of

 documents before it is made to movants Broidy Capital Management LLC and

 Elliott Broidy (collectively, “Broidy”). (ECF No. 2.) Broidy opposed that request by

 letter dated June 9, 2018. (ECF No. 3.) Having carefully reviewed the parties’

 respective submissions, the Court hereby ORDERS the following:

              Qatar’s request to pre-review Allaham’s production of documents is

               DENIED. The arguments raised by Qatar should have been, but were

               not, raised during the Show Cause Hearing on June 6, 2018. Qatar’s

               June 8 Letter appears to be reargument of the underlying motion to

               compel. Yet again, the Court is concerned with the use of various tactics

               to obtain delay to bring yet further applications/reargument to the Court.

               The Court granted the motion to compel. It must be complied with

               immediately. Further, neither the FSIA nor the Vienna Conventions

               protect sovereign entities from civil discovery collected from non-agent
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              third parties. Accordingly, there is no basis for this Court to conclude

              that the extraordinary remedy of pre-review is warranted here.

             Qatar’s alternative request for a provisional “Attorney’s Eyes Only”

              designation is GRANTED. The Court concludes that such provisional

              designation adequately protects any interests Qatar may have in the

              subpoenaed documents. All documents produced by Allaham in response

              to the subpoena shall be provisionally designated as “Attorney’s Eyes

              Only”—as that term is used in the Court’s Model Protective Order 1—

              until such time as Judge John F. Walter has an opportunity to rule on a

              more permanent protective order in the underlying action.

             The Court is troubled that Broidy and Allaham felt it was appropriate to

              extend the time for Allaham to comply with the subpoena without

              seeking leave of the Court. The Court explicitly held that Allaham must

              comply with the subpoena “within 72 hours”—that time has now expired.

              There was no provision for stipulated relief from a Court Order. Allaham

              is therefore directed to fully comply with the subpoena immediately,

              irrespective of any so-called “extension” that may have been agreed to.

        The Clerk of Court is directed to close the open motion at ECF No. 2.

 Dated:         New York, New York
                June 11, 2018

                                              ______________________________________
                                                    KATHERINE B. FORREST
                                                    United States District Judge



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